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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JORGE MONGE
7901 Spiceberry Circle, Apt J
Gaithersburg, Maryland 20877

On Behalf of Himseg and
All Others Sim ilar{v Situated

PLAINTIFF,

V.

J.O. PAINTING COMPANY, lNC.

9133 6th street
Lanham, Maryland 20706

SERVE: lose J. Ortiz
9133 6“‘ street
Lanham, Maryland 20706

and
JOSE J. ORTIZ
9133 6“‘ street
Lanharn, Maryland 20706

DEFENDANTS.

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Civil Action No.:

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COLLECTIVE ACTION COMPLAINT

Plaintiff Jose Monge (“Plaintiff"), by and through undersigned counsel, on behalf of

himself and all others similarly situated, hereby submits his Collective Action Complaint against

Defendants J. O. Painting Company, Inc. (“JOPC”) and Jose J. Ortiz (“Ortiz”) (together,

“Defendants”), to recover damages under the F ederal Fair Labor Standards Act of 193 8, as

amended, 29 U.S.C. §§ 201 et seq. (“FLSA”); the D.C. Minimum Wage Act Revision Act of

1992, D.C. Code §§ 32~1001 et seq. (“DCMWA”); and the D.C. Wage Payment and Wage

Collection Act, D.C. Code §§ 32-1301 et seq. (“DCWPA”) as set forth below.

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PARTIES AND JURISDJLCTION
l. Plaintiff is an adult resident of the State of Maryland who at all times performed a
substantial amount of work duties for Defendants in the District of Columbia as well as the State
of Maryland and Commonwealth of Virginia. By acting as the named Plaintiff in this lawsuit,
Plaintiff confirms his consent to participate as a plaintiff in a Collective Action under the FLSA.
2. JOPC is a corporation formed under the laws of the State of Maryland with its principal
place of business in Lanham, Maryland. At all times relevant, JOPC regularly and substantially
engaged in work duties in the District of Columbia as Well as the State of Maryland and the
Commonwealth of Virginia.
3. Ortiz is, and was at all times relevant, the President and principal owner of the JOPC, At
all times, JOPC was Plaintift"s supervisor and independently made all decisions related to
Plaintift‘s rate and method of pay. At all times, Ortiz was in charge of all day-to-day operations
of JOPC.
4. At all times relevant, both Defendants were Plaintiff’ s “employers” for purposes of the
FLSA, DCMWA, and DCWPA.
5. During Plaintiff"s employment, Defendants were engaged in commerce or in the
production of goods for commerce within the meaning of § 3(s)(l) of the FLSA (29 U.S.C.
§ 203(5)(1))-
6. At all times relevant, Defendants qualified as an “enterprise” within the meaning of § 3(r)
of the FLSA (29 U.S.C. § 203(r)) and Plaintiff was an employee engaged in commerce or the

production of goods for commerce as required by 29 U.S.C. §§ 206-207.

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7. This Court has jurisdiction over Defendants pursuant to § 16(b) of the FLSA, 29 U.S.C. §
216(b), and 28 U.S.C. § 1337 relating to “any civil action or proceeding arising under any Act of
Congress regulating commerce.” Subject matter jurisdiction is invoked under 28 U.S.C. § 1331
(Federal Question). Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

raw
8. During Plaintiff’s term of employment with Defendants, Defendants’ promised and
explicitly agreed to pay Plaintiff at hourly rates prescribed on all Federal Government Contracts,
consistent with the required rates as set forth under the Davis Bacon Act, 40 U.S.C.A. § 3141, et
seq. (“Davis Bacon”).
9. Despite Defendants’ promise and agreement to pay Plaintiff at the rates prescribed for
carpenters and scaffolders by Davis Bacon, Defendants’ failed and refused to pay Plaintiff at his
promised and agreed upon Davis Bacon rates for all hours worked (including overtime and non-
overtime hours worked).
10. Plaintiff was employed by Defendants from about February 2010 through September
2010 (34.4 weeks); from April 9, 2011 through about July 29, 2011 (15.9 weeks); and from
September 8, 2012 through May 3, 2013 (33.9 Weeks) (total, approximately 84.2 weeks).
11. During the period of Plaintiff’ s employment, Plaintiff primarily performed commercial
painting job duties on F ederal Government Contracts, notably, the United States Pentagon,
United States Courthouse, and United States Park Police facilities in Washington, D.C. and the

surrounding metropolitan area.

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12. For work performed by Defendants on each Federal Government Contract entered into by
Defendants, Defendants guaranteed they would compensate all of their employees, including
Plaintiff, for work performed at the required Davis Bacon or “scale” rate for painters ($24.64 +
Fringes SS.O4 = $32.68 per hour).

13. At all times, Plaintiff was an explicitly intended beneficiary of each Federal Government
Contract with contractual rights to promised wages at $32.68 per hour.

14. Defendants did not ever pay Plaintiff as they affirmed they would under the penalties of
perjury on Federal Government Contractors.

15. Defendants regularly and customarily paid Plaintiff at the rate of pay of either $15.00 per
hour; $21.00 per hour; and later $22.00 per hour for work performed on Federal Government
Contracts.

16. Defendants now owe Plaintiff unpaid wages equal to the difference between the rate
Defendants paid to Plaintiff and the rate Defendants Were required by Davis Bacon to pay
Plaintiff for all hours worked

17. Further, Federal and District of Columbia Law mandate that, for hours Plaintiff worked
in excess of forty (40) per week, Defendants were required to pay Plaintiff at the rate of one-and-
one-half (1 l/z) times Plaintiffs Davis Bacon rate 349.02 (332.68 * 1.5 = 349.02) per overtime
hour.

18. Defendants did not pay Plaintiff at the Federal and District of Columbia required
overtime rate.

19. Rather, Defendants paid Plaintiff at his regular (non-Davis Bacon) hourly rate for all

hours worked per week in excess of forty (40).

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20. Plaintiff is owed unpaid non-overtime wages in the approximate amount of $33,43 7.50
(332.68 required per hour - 321.00 paid per hour = $1 1.68 owed per hour * 40 non-overtime
hours per week = $467120 owed per week for non-overtime hours worked * 84.2 weeks =
$39,338.24 * 0.85 (to account for non-government contracts weeks) = $33,43 7.50).
21. Plaintiff is owed unpaid overtime wages in the approximate amount of $1 5,335.35
($49.02 required per overtime hour - 321.00 paid per overtime hour = $28.02 owed per overtime
hour * approximately 10 overtime hours per week = $280.02 per week * 84.2 weeks =
$23,592.84 * 0.65 to account for overtime worked at non-government contracts / blended rate
calculations / weeks with less or no overtime = $15,335.35);
22. In addition to unpaid non-overtime and overtime wages owed, Defendants owe Plaintiff
statutory or “liquidated” damages in an equal amount pursuant to Federal and District of
Columbia law in the approximate amount of $54,673.59 ($39,338.24 + $15,335.35 =
$54,673.59).

COLLECTIVE ACTION ALLEGATIONS
23. Plaintiff is pursuing this action as an FLSA collective action on behalf of himself and all other
similarly situated individuals who performed painting and related work duties for Defendants
24. The essence of this entire collective action case is that the Plaintiff and other similarly situated
individuals were not paid overtime wages in compliance with the overtime compensation requirements
of Federal and District of Columbia law.
25. Common to the claims of Plaintiff and all class members is that each individual received
overtime compensation from Defendants at a rate less than What is required by Federal and District of

Columbia Law.

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26. In the present case, the number of class members is believed to exceed thirty (30) current and
former employees of Defendants
27. All class members are readily identifiable from information and records, orr information and
belief, in the possession and control of the Defendants
28. Plaintiff is aware of other current and former employees of Defendants who are similarly
situated in that they: (l) worked many hours of overtime for Defendants; (2) were not paid for
overtime hours as prescribed by Federal and District of Columbia Law; and (3) did not perform
work which would qualify them as exempt from the overtime requirements of Federal and
District of Columbia Law.

CAUSES OF ACTION

COUNT I
Violation of F ederal Fair Labor Standards Act

29. Plaintiff re-alleges and reasserts each and every allegation set forth in Paragraphs l-29
above, as if each were set forth herein.

30. The FLSA provides that “no employer shall employ any of his employees for a
workweek longer than forty hours unless such employee receives compensation for his
employment in excess of the hours above specified at a rate not less than one and one-half times
the regular rate at which he is employed.”

31. At all times, Plaintiff was an “employee” covered by the FLSA, and both Defendants
were Plaintiff`s “employers” under the FLSA.

32. Defendants, as Plaintiff s employers, were obligated to compensate Plaintiff for overtime
hours worked at the overtime rate equal to the higher of one-and-one-half (l 1/z) times Plaintiff’ s
regular rate of pay g one-and-one-half (1 1/2) times Plaintiffs’ promised and agreed upon Davis

Bacon rate of pay for overtime hours worked each week in excess of forty (40).

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33. Plaintiff worked overtime hours in excess of forty (40) hours per week on a consistent
and regular basis while in Defendants’ employ and Defendants had knowledge of all hours
Plaintiff worked and suffered or permitted Plaintiff to work all hours herein alleged

34. At no time during Plaintiff" s employment was Plaintiffs paid at the rate of one-and-one-
half (1 '/.~i) times either Plaintiff’s promised and agreed upon Davis Bacon rate or one-and-one
half (1 l/z) times Plaintiff"s regular rate of pay for hours worked each Week in excess of forty (40).
35. Plaintiff is entitled to, and is owed, overtime pay in the amount of the difference between
the amount Plaintiff was paid for overtime hours worked each week in excess of forty (40) and
the higl_rer of one-and-one half (l 1/z) times Plaintiffs promised and agreed upon Davis Bacon rate
g one-and-one half (l l/2) times Plaintiff’s regular hourly rate for all hours worked each week in
excess of forty (40).

36. Defendants have failed and refused to compensate Plaintiff (and others similarly situated)
properly and as required by the FLSA for numerous overtime hours worked.

37. Defendants’ failure and refusal to pay compensation as required by the FLSA was willful
and intentional, and not in good faith.

WHEREFORE, Defendants are liable, jointly and severally, to Plaintiff (and all others
similarly situated who have joined in this suit) under Count I for all unpaid overtime wages in
such amounts to be proved at trial, plus an equal amount in liquidated damages, interest (both
pre- and post-judgment), attorney’s fees, the costs of this action, and any other and further relief
this Court deems appropriate

COUNT lI
Violation of D.C. Minimum Wage Act Revision Act of 1992

38. Plaintiff re-alleges and reasserts each and every allegation set forth in Paragraphs 1-38

above, as if each were set forth herein.

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39. Plaintiff was an “employee” and both Defendants were Plaintiff’s “employers” within the
meaning of the DCMWA.

40. Pursuant to the DCMWA, Defendants, as Plaintiff" s employers, were obligated to
compensate Plaintiff for overtime hours worked at the overtime rate of the higher of one-and-
one-half (1 1/z) times Plaintiffs’ regular rate of pay g one-and-one-half (1Vz) times Plaintiffs’
promised and agreed upon Davis Bacon rate of pay for overtime hours worked each week in
excess of forty (40).

41. Plaintiff worked overtime hours substantially in the District of Columbia in excess of
forty (40) hours per week on a consistent and regular basis while in Defendants’ employ and
Defendants had knowledge of all hours Plaintiff worked and suffered or permitted Plaintiff to
work all hours herein alleged

42. At no time during Plaintiff`s employment was Plaintiff paid at the rate of one-and-one-
half (l 1/z) times either Plaintiff’ s promised and agreed upon Davis Bacon rate or one-and-one
half (l 1/z) times Plaintiff’ s regular rate of pay for hours worked each week in excess of forty (40).
43. Plaintiff is entitled to, and owed, overtime pay in the amount of the difference between
the amount Plaintiff was paid for overtime hours worked each week in excess of forty (40) and
the higher of one-and-one half (l '/2) times Plaintiff’s promised and agreed upon Davis Bacon rate
g one-and-one half (1 l/;z) times Plaintiff`s regular hourly rate for all hours worked each week in
excess of forty (40).

44. Defendant has failed and refused to compensate Plaintiff (and others similarly situated)
properly and as required by the DCMWA for numerous overtime hours worked

45. Defendants’ failure and refusal to pay compensation as required by the DCMWA was

willful and intentional, and not in good faith.

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WHEREFORE, Defendants are liable, jointly and severally, to Plaintiff (and all others
similarly situated who have joined in this suit) under Count II, for all unpaid wages in such
amounts to be proven at trial, plus liquidated damages in an equal amount, interest (both pre- and
post-judgment), attomey’s fees, costs, and any other and further relief this Court deems
appropriate

COUNT III
Violation of D.C. Wage Payment and Wage Collection Act

46. Plaintiff re-alleges and reasserts each and every allegation set forth in Paragraphs 1-45
above, as if each were set forth herein.

47. Plaintiff was an “employee,” and both Defendants were Plaintiff’ s “employers” within
the meaning of the DCWPA.

48. Under the DCWPA, Defendants, as Plaintiff’ s employers, were obligated to pay Plaintiffs
all wages promised for work that Plaintiff performed

49. “Wages” are defined under DCWPA as, “monetary compensation after lawful
deductions, owed by an employer for labor or services rendered . .”

50. Plaintiff worked many hours for Defendants in the District of Columbia for which
Defendants’ failed and refused to pay Plaintiff all wages promised and agreed at Plaintiff’s Davis
Bacon rate for job duties performed at or before the end of Plaintiff’ s employment with
Defendants

51. Defendants owe Plaintiff back wages equal to the difference between the rate
Defendants’ paid Plaintiff for hours worked and the Davis Bacon rate Plaintiff was promised and

agreed to under the DCWPA.

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52. Defendants’ failure and refusal to pay Plaintiff all wages promised and agreed to at or
before the end of Plaintiff’ s employment with Defendants as required by the DCWPA was
willful and intentional, was not the result of any bonafz`de dispute between Plaintiff and
Defendants, and was not in good faith.

WHEREFORE, Defendants are liable, jointly and severally, to Plaintiff under Count III,
for all unpaid wages in such amounts to be proven at trial, plus liquidated damages in an equal

amount, interest (both pre- and post-judgment), attorney’s fees, costs, and any other and further

Respectful y submitted,
/ /Z/

Gr€gg C. C{reérl‘r/e’fg, §m No. MD1?91
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relief this Court deems appropriate

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